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                        Exhibit 39
            Case
6/12/24, 5:10 PM 2:24-cv-11626-LVP-EAS              ECFBusiness
                                                        No. 3-41,      PageID.344
                                                                Entity Detail              Filedof06/21/24
                                                                              - Wyoming Secretary  State   Page 2 of 10


Business Center                                                                                      Online Services Search



    DETAIL                                                  RETURN TO YOUR SEARCH                   FILE YOUR ANNUAL REPORT


       Alter Ego Properties LLC
     This detail reflects the current data for the filing in the system.                                                      Print
       Name
       Alter Ego Properties LLC
       Filing ID                                                Status                                             Fictitious Name
       2020-000917268                                           Active
       Type
                                                                Sub Status
       Limited Liability Company - Domestic                     Current
                                                                Initial Filing
                                                                05/16/2020


       Standing - Tax                                           Term of Duration
       Good                                                     Perpetual
       Standing - RA                                            Formed In
       Good                                                     Wyoming
       Standing - Other
       Good
                                                                Principal Office
                                                                30 N Gould St Ste 11578
                                                                Sheridan, WY 82801
                                                                USA

       Mailing Address
       30 N Gould St Ste 11578
       Sheridan, WY 82801
       USA



      Additional Details

       Registered Agent:                                        Latest AR/Year
       Registered Agents Inc                                    09871305 / 2024
       30 N Gould St Ste R                                      AR Exempt
       Sheridan, WY 82801 USA                                   No
                                                                License Tax Paid
                                                                $60.00



      History


      RA Information Change - 2024-004886337                                                                Date: 06/10/2024


https://wyobiz.wyo.gov/Business/FilingDetails.aspx?eFNum=105158020179174045184108190250154148152037001048                            1/2
            Case
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                                                        No. 3-41,      PageID.345
                                                                Entity Detail              Filedof06/21/24
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      2024 Original Annual Report - 09871305                                                                   Date: 05/13/2024

      Delinquency Notice - Tax - 2024-004749816                                                                Date: 05/02/2024

      2023 Original Annual Report - 08432578                                                                   Date: 04/17/2023

      Reinstatement - Tax - 2023-004126395                                                                     Date: 04/17/2023

      2022 Original Annual Report - 08432572                                                                   Date: 04/17/2023

      Dissolution / Revocation - Tax - 2022-003737645                                                          Date: 07/09/2022

      Delinquency Notice - Tax - 2022-003656544                                                                Date: 05/02/2022

      2021 Original Annual Report - 06191048                                                                   Date: 04/15/2021

      Address Update - 2020-002834192                                                                          Date: 05/29/2020

      Initial Filing - See Filing ID                                                                           Date: 05/16/2020

      Public Notes
     No Public Notes Found...
      Parties

            Sharah Rose (Organizer)                                                                     Organization:
                                            Address: 30 N Gould St Sheridan WY 82801




https://wyobiz.wyo.gov/Business/FilingDetails.aspx?eFNum=105158020179174045184108190250154148152037001048                         2/2
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